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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MISSOURI
                                   EASTERN DIVISION
EMILY DAVIS,                           )
                                       )
      Plaintiff,                       )
                                       )
   v.                                  )                  No. 4:18CV1574 HEA
                                       )
CITY OF SAINT LOUIS, MISSOURI, et al., )
                                       )
      Defendants.                      )
                                       )

           AMENDED CASE MANAGEMENT ORDER - TRACK 2: STANDARD

      Pursuant to the Civil Justice Reform Act Expense and Delay Reduction Plan and the

Differentiated Case Management Program of the United States District Court of the Eastern

District of Missouri, and the Joint Proposed Scheduling Plan filed by the parties.

      IT IS HEREBY ORDERED that the following schedule shall apply in this case, and will

be modified only upon a showing of exceptional circumstances:

      I.     SCHEDULING PLAN

      1.    This case has been assigned to Track 2 (Standard).

      2.    Disclosure shall proceed in the following manner:

              (a) The parties shall make all disclosures required by Rule 26(a)(1), Fed. R. Civ.
P., no later than June 15, 2022.

            (b) Plaintiff shall disclose all expert witnesses and shall provide the reports
required by Rule 26(a)(2), Fed.R.Civ.P., no later than September 15, 2022, and shall make
expert witnesses available for depositions, and have depositions completed, no later than
October 17, 2022.

            (c)    Defendant shall disclose all expert witnesses and shall provide the reports
required by Rule 26(a)(2), Fed. R. Civ. P., no later than November 15, 2022, and shall make
expert witnesses available for depositions, and have depositions completed, no later than
December 15, 2022 .

             (d) The presumptive limits of ten (10) depositions per side as set forth in Rule
30(a)(2)(A), Fed. R. Civ. P., and twenty-five (25) interrogatories per party as set forth in Rule
33(a), Fed. R. Civ. P., shall apply.
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             (e)    Requests for physical or mental examinations of parties pursuant to Rule 35,
Fed. R. Civ. P. are not anticipated.

            (f)      The parties shall complete all discovery in this case no later than December
15, 2022.

             (g) Motions to compel shall be pursued in a diligent and timely manner, but in
no event filed more than eleven (11) days following the discovery deadline set out above.

       3.    This case shall be referred to alternative dispute resolution on April 7, 2022, and
that reference shall terminate on June 7, 2022.


      4.    Any motions to dismiss, for summary judgment or motions for judgment on the
pleadings must be filed no later than February 6, 2023. Opposition briefs shall be filed no later
than February 27, 2023 and any reply brief may be filed no later than March 6, 2023.

        In the event dispositive motions are filed prior to the above specified date, the opposing
party shall file a response twenty-one (21) days after the filing of the dispositive motion. A
reply may be filed seven (7) days after the filing of the response.


       5.      Any motions under Daubert shall be filed no later than February 6, 2023.
Opposition briefs shall be filed no later than February 27, 2023 and any reply brief may be
filed no later than March 6, 2023.

      No later than twenty-one (21) days preceding the deadline for completion of discovery,
any party may request in a written motion that the Court hold a supplemental conference to
discuss issues of scheduling and management of the action. WHETHER TO GRANT SUCH
A REQUEST IS A MATTER FOR THE COURT’S DISCRETION.

      II.    ORDER RELATING TO TRIAL

     This action is set for a JURY trial on July 17, 2023, at 09:30 AM. This is a 1-week
docket.

       Pursuant to Local Rule 8.04 the court may tax against one or all parties the per diem,
mileage, and other expenses of providing a jury for the parties, when the case is terminated or
settled by the parties at a time too late to cancel the jury attendance or to use the summoned
jurors in another trial, unless good cause for the delayed termination or settlement is shown.

       In this case, unless otherwise ordered by the Court, the attorneys shall, not less
than fourteen (14) days prior to the date set for trial:

        1.      Stipulation: Meet and jointly prepare and file with the Clerk a JOINT
Stipulation of all uncontested facts, which may be read into evidence subject to any objections
of any party set forth in said stipulation (including a brief summary of the case which may be
used on Voir Dire).

       2.         Witnesses:


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               (a)     Deliver to opposing counsel, and to the Clerk, a list of all proposed
witnesses, identifying those witnesses who will be called to testify and those who may be called.

               (b)      Except for good cause shown, no party will be permitted to call any
witnesses not listed in compliance with this Order.


        3.      Exhibits:

                 (a)    Mark for identification all exhibits to be offered in evidence at the trial
(Plaintiffs to use Arabic numerals and defendants to use letters, e.g., Pltf-1, Deft.-A, or Pltf
Jones-1, Deft Smith-A, if there is more than one plaintiff or defendant), and deliver to opposing
counsel and to the Clerk a list of such exhibits, identifying those that will be introduced into
evidence and those that may be introduced. The list shall clearly indicate for each business
record whether the proponent seeks to authenticate the business record by affidavit or
declaration pursuant to Fed.R.Evid. 902(11) or 902(12).

                  (b)     Submit said exhibits or true copies thereof, and copies of all affidavits or
declarations pursuant to Fed.R.Evid. 902(11)or 902(12), to opposing counsel for examination.
Prior to trial, the parties shall stipulate which exhibits may be introduced without objection or
preliminary identification, and shall file written objections to all other exhibits.

                (c)     Except for good cause shown, no party will be permitted to offer any
exhibits not identified or not submitted by said party for examination by opposing counsel in
compliance with this Order. Any objections not made in writing at least seven (7) days prior to
trial may be considered waived.

      Exhibits, documents, video, and photos will be preserved through the
Jury Evidence System(JES) for viewing by the jury upon their request for
items of evidence during deliberations. The JES will allow jurors to review
evidence (documents, photos, and/or video exhibits) on a large LED
touchscreen monitor in the jury room during deliberations. If a request is
made by the jury to review admitted exhibits, by using the JES, jurors can
more closely view evidence, control playback of video evidence, and zoom in
on photographic evidence as needed from the jury deliberation room.
Attorneys will be requested to provide digital copies to the Deputy Clerk of
any exhibits that have been admitted during trial. The Clerk will then load
the specified exhibits into the JES for jurors to have access to during
deliberation. Documents should be saved in Microsoft word format or PDF,
photos should be saved as JPEG, and videos should be saved as WMV, or
MP4.
        4.      Depositions, Interrogatory Answers, and Request for Admissions:

                (a)    Deliver to opposing counsel and to the Clerk a list of all interrogatory
answers or parts thereof and depositions or parts thereof (identified by page and line numbers),
and answers to requests for admissions proposed to be offered in evidence. At least seven (7)
days before trial, opposing counsel shall state in writing any objections to such testimony and
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shall identify any additional portions of such depositions not listed by the offering party which
opposing counsel proposes to offer.

               (b)    Except for good cause shown, no party will be permitted to offer any
interrogatory answer, or deposition or part thereof, or answer to a request for admissions not
listed in compliance with this Order. Any objections not made as above required may be
considered waived.

        5.      Instructions: Submit to the Court and to opposing counsel their written request
for instructions and forms of verdicts reserving the right to submit requests for additional or
modified instructions at least seven (7) days before trial in light of opposing party’s requests for
instructions. (Each request must be supported by at least one pertinent citation.) The parties
shall prepare a USB flash drive with their instructions and shall have the flash drive available
for any modifications of instructions.

        6.     Trial Brief: Submit to the Court and opposing counsel a trial brief stating the
legal and factual issues and authorities relied on and discussing any anticipated substantive or
procedural problems.

        7.      Motions in Limine: File all motions in limine to exclude evidence at least
fourteen (14) days before trial. Responses or objections to any motion in limine must be filed at
least seven (7) days before trial. Any response or objection not made as above required may be
considered waived.

     Failure to comply with any part of this order may result in the imposition of sanctions.

      Dated this 14th day of April, 2022.


                                                   ________________________________
                                                     HENRY EDWARD AUTREY
                                                   UNITED STATES DISTRICT JUDGE




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